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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Honorable Marcia S. Krieger


   Civil Action No. 07-cv-02697-MSK-BNB

   KHALFAN KHAMIS MOHAMMED,

                  Plaintiff,

   v.

   ERIC HOLDER, The U.S. Attorney,
   HARLEY LAPPIN, Director of B.O.P.,
   RON WILEY, ADX Warden, and
   HARRELL WATTS, Administrator of National Inmate Appeals, and
   FEDERAL BUREAU OF INVESTIGATION,

               Defendants.
   ______________________________________________________________________________

                                    JUDGMENT
   ______________________________________________________________________________

          PURSUANT TO the Court’s June 17, 2014 Findings of Fact, Conclusions of Law, and

   Order, judgment is hereby entered in favor of the Plaintiff, Khalfan Khamis Mohammed, and

   against Defendants Eric Holder and Federal Bureau of Investigation, insofar as the Court

   DECLARES that these Defendants violated the APA, 5 U.S.C. § 702, in that: (i) the 2009

   decision, continuing to date, to revoke Mr. Mohammed’s permission to have oral communication

   with Nassor; (ii) the denial (if any) of his request to add 32 more persons to his list of permitted

   contacts was; and (iii) the denial of his request (of unspecified date) that he be permitted to have

   his outgoing mail, once cleared by the FBI, delivered to his attorney for distribution to recipients,

   were each arbitrary and capricious and unsupported by substantial evidence in the record. These

   decisions are REMANDED to the FBI for further consideration and resolution within the current




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   cycle of SAM’s review in accordance with the terms of this Order. Such judgment includes the

   award of costs pursuant to Fed. R. Civ. P. 54(d)(1).

          Judgment is further entered in favor of all other Defendants named in this case against

   Mr. Mohammed on all remaining claims, with costs pursuant to Fed. R. Civ. P. 54(d)(1).

          Dated this 17th day of June, 2014.
                                                          BY THE COURT:




                                                          Marcia S. Krieger
                                                          Chief United States District Judge




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